                                                                             i

         Case: 3:21-cv-00066-SA-JMV Doc #: 2 Filed: 03/30/21 1 of 3 PageID #: 14



            IN THE CIRCUIT COURT OF LAFAYETTE COUNTY, MISSISSIPPI

HAZEL THOMPSON                                                                              PLAINTIFF

VS.                                                           CAUSE NO.

WALGREEN CO. d/b/a WALGREENS                                                            DEFENDANT


                                       COMPLAINT
                                  JURY TRIAL DEMANDED


       COMES NOW the Plaintiff, Hazel Thompson, through her counsel; David G. Hill, and

files this her Complaint against the Defendant, Walgreen Co. d/b/a Walgreens, and in support

shows as follows:

       I.      Plaintiff Hazel Thompson is an adult resident citizen of, Lafayette County,

Mississippi, and was so on February 21, 2018.

       2.      The Defendant, Walgreen, Co. d/b/a Walgreens, is a' national company,

Incorporated in the State of Illinois, and licensed to do business in the State, of Mississippi, and

specifically doing business on February 21, 2018, as Walgreens at its location in Oxford,

Mississippi, specifically addressed as 1808 University Avenue, Oxford, ~ Mississippi.               The

Defendant is involved in the general merchandise business and in the prepara'tion of and delivery

to the public of prescription medications as prescribed by licensed medical providers. The

Defendant may be served with process by serving its registered agent, The Prentice-Hall

Corporation System, Inc., 7716 Old Canton Road, Suite C, Madison, MS 39110.

       3.      Jurisdiction and venue are proper in the Circuit Court of Lafayette County,

Mississippi, in that the cause of action occurred in Lafayette County, Mississippi, and the Plaintiff
                                                                               LAFAYEffE C®IJNTN
is a resident of Lafayette County, Mississippi.                                    F ILE ®
                                                                                       DfC 11 2020
                                                 1                                     JE    BlJS Y
                                                                                       C        E
                                                                                 6Yr                  ®.G
          Case: 3:21-cv-00066-SA-JMV Doc #: 2 Filed: 03/30/21 2 of 3 PageID #: 15



         4.       The Plaintiff, on February 21, 2018, needed and sought medical attention. As a

result   of   that    medical    attention,   the   Plaintiff   was   given        a   prescription   for

Acetaminophen/Hydrocodone. Instead, the Walgreens at 1808 Universi~ty Avenue in Oxford

placed into Plaintiff s prescription bottle the drug Alfuzosin, which is a prostrate drug for men.

Plaintiff is a female. Shortly after taking what she thought was the prescribed medication for her,

the Plaintiff became dizzy, light headed and fainted, falling onto and across an electric space

heater, resulting in severe injury to the Plaintiff, including intense burns, physical pain and

suffering, permanent physical scarring and permanent mental and emotional injury.

         5.       The Defendant's employees apparently gave the Plaintiff inedication intended for

another Walgreen's customer. The Defendant's employees should never mix one customer's

medication up with another customer's. To be so careless as to do so is absolute gross negligence

for which an award of punitive damages should issue.                           ;

         6.       The Defendant Walgreens owes a duty to this Plaintiff and to the public at large to

be careful and correct in terms of the medications pass to Walgreen's customers. In this case, that

duty has been breached or ignored, proximately resulting in the extensive and lifelong injuries to

this Plaintiff.

         ACCORDINGLY, PREMISES CONSIDERED, Plaintiff prays that this Court will receive

and docket her Complaint; that the Court will issue all process due to the Defendant; that tlie Court

will issue scheduling orders addressing the prosecution and advancement of this case; that the

Court will set this matter for a jury trial and will award this Plaintiff all damages due to her for her

injuries, including compensatory damages for her physical injuries; for, the physical pain and

suffering she has experienced and will continue to suffer; for the extensive physical scarring she

 has suffered and will continue to suffer; for the mental and emotional pain she has suffered and


                                                    2
        Case: 3:21-cv-00066-SA-JMV Doc #: 2 Filed: 03/30/21 3 of 3 PageID #: 16



will continue to suffer, all based on the Defendant's breach of duty to her and the public; for all

her medical expenses; and the Defendant seeks punitive damages based upon the Defendant's

incompetence and gross negligence in giving her medication wholly unsuited for her medical needs

actually intended for somebody else.

       DATED this 10th day of December, 2020.

                                                       RESPECTFULLY SUBMITTED,

                                                               THOMPSON,j Plaintiff       ]   /



                                              o.       V.   /-1,    D,
                                                       Law Office of David G
                                                       Post Office Box 429
                                                       Oxford, MS 38655
                                                       Phone: 662-234-4315 i
                                                       Fax: 662-236-7996




                                                   3                       I
